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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF TEXAS
                              WACO DIVISION

RENE MICHELLE TAYLOR #326209             §
                                         §
V.                                       §             W-19-CA-467-ADA
                                         §
ROSE NELSON, et al.                      §

                                 FINAL JUDGMENT

      Before the Court is the above-entitled cause. Upon review of the entire case file

and this Court’s Order which granted Defendants’ Motion for Summary Judgment, the

Court renders the following Final Judgment pursuant to Federal Rule of Civil Procedure

58.

      It is hereby ORDERED that Plaintiff’s claims against Defendants are

DISMISSED WITH PREJUDICE.

      IT IS FINALLY ORDERED that the above entitled cause of action is hereby

CLOSED.


 SIGNED on December 1, 2020




                                      ALAN D ALBRIGHT
                                      UNITED STATES DISTRICT JUDGE
